                                   Case 3:23-bk-01820-BAJ                            Doc 1       Filed 08/03/23         Page 1 of 75

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                                 Middle District of Florida


 Case number (if known):                                            Chapter     11                                                     ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Alrod Logistics, Inc.



    2. All other names debtor used
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                   2      0 – 8    4   1    9   3    0   2
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business

                                                   1492 Bellshore Circle
                                                   Number          Street                                      Number        Street



                                                                                                               P.O. Box
                                                   Jacksonville, FL 32218
                                                   City                                  State   ZIP Code
                                                                                                               City                              State      ZIP Code

                                                   Duval                                                       Location of principal assets, if different from principal
                                                   County                                                      place of business


                                                                                                               Number        Street




                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:



Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
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Debtor      Alrod Logistics, Inc.                                                                            Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .


    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ✔ Chapter 11. Check all that apply:
                                                ❑
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ✔ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
                                                   ❑
     of chapter 11 (whether or not the                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                         operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                           exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ✔ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                      ❑
                                                           debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                           proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                           balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                           any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                      ❑ A plan is being filed with this petition.
                                                      ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                           accordance with 11 U.S.C. § 1126(b).
                                                      ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                           Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                           Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                           (Official Form 201A) with this form.
                                                      ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                     When                    Case number
                                                                                                           MM / DD / YYYY
     If more than 2 cases, attach a                      District                                   When                     Case number
     separate list.                                                                                        MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                               Relationship

     List all cases. If more than 1, attach a            District                                                            When
     separate list.                                                                                                                        MM / DD / YYYY
                                                         Case number, if known




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                                      Case 3:23-bk-01820-BAJ                 Doc 1       Filed 08/03/23             Page 3 of 75

Debtor        Alrod Logistics, Inc.                                                                           Case number (if known)
             Name


  11. Why is the case filed in this        Check all that apply:
      district?
                                           ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                           ❑
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have          ✔ No
                                           ❑
      possession of any real
      property or personal property
                                           ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
      attention?                                     ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                           What is the hazard?


                                                     ❑ It needs to be physically secured or protected from the weather.
                                                     ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                           (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                           options).
                                                     ❑ Other
                                                     Where is the property?
                                                                               Number        Street




                                                                               City                                         State    ZIP Code
                                                     Is the property insured?
                                                     ❑ No
                                                     ❑ Yes.        Insurance agency
                                                                   Contact name
                                                                   Phone

          Statistical and administrative information

         13. Debtor’s estimation of        Check one:
             available funds?              ❑ Funds will be available for distribution to unsecured creditors.
                                           ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                           ❑
                                              creditors.

         14. Estimated number of
                                                   ✔ 50-99
                                            ❑ 1-49 ❑                           ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                      ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets               ❑ $0-$50,000                          ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                            ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                            ✔ $500,001-$1 million
                                            ❑                                     ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
                                      Case 3:23-bk-01820-BAJ                  Doc 1         Filed 08/03/23           Page 4 of 75

Debtor        Alrod Logistics, Inc.                                                                            Case number (if known)
             Name



                                            ❑ $0-$50,000                              ✔ $1,000,001-$10 million
                                                                                      ❑                                         ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                            ❑ $500,001-$1 million                     ❑ $100,000,001-$500 million               ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     08/01/2023
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ Alejandro Echeverria                                           Printed name
                                                                                                                                    Alejandro Echeverria
                                                   Signature of authorized representative of debtor


                                                   Title                        President



         18. Signature of attorney
                                               ✘                       /s/ Bryan K. Mickler                         Date      08/01/2023
                                                                                                                              MM/ DD/ YYYY
                                                   Signature of attorney for debtor



                                                    Bryan K. Mickler
                                                   Printed name

                                                    Law Offices of Mickler & Mickler, LLP
                                                   Firm name

                                                    5452 Arlington Expy.
                                                   Number          Street


                                                    Jacksonville                                                       FL              32211
                                                   City                                                               State            ZIP Code



                                                                                                                        bkmickler@planlaw.com
                                                   Contact phone                                                       Email address



                                                    091790                                                              FL
                                                   Bar number                                                          State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
                                   Case 3:23-bk-01820-BAJ                     Doc 1       Filed 08/03/23        Page 5 of 75

 Fill in this information to identify the case:

 Debtor name                               Alrod Logistics, Inc.

 United States Bankruptcy Court for the:
                                 Middle District of Florida


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                               12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all property in
which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book value, such as
fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list them on Schedule G:
Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the debtor’s
name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is attached,
include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not deduct
the value of secured claims. See the instructions to understand the terms used in this form.


 Part 1: Cash and cash equivalents


  1.   Does the debtor have any cash or cash equivalents?
       ❑ No. Go to Part 2.
       ✔ Yes. Fill in the information below.
       ❑
       All cash or cash equivalents owned or controlled by the debtor                                                                  Current value of debtor's
                                                                                                                                       interest

  2.   Cash on hand

  3.   Checking, savings, money market, or financial brokerage accounts (Identify all)
       Name of institution (bank or brokerage firm)                Type of account               Last 4 digits of account number
       3.1 Vystar Credit Union                                         Checking account                     1799                                         $241.60

       Additional Page Total - See continuation page for additional entries                                                                            $4,510.40

  4.   Other cash equivalents (Identify all)
       None

  5.   Total of Part 1
                                                                                                                                                        $4,752.00
       Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



 Part 2: Deposits and prepayments


  6.   Does the debtor have any deposits or prepayments?
       ✔ No. Go to Part 3.
       ❑
       ❑ Yes. Fill in the information below.
                                                                                                                                       Current value of debtor's
                                                                                                                                       interest
  7.   Deposits, including security deposits and utility deposits
       Description, including name of holder of deposit
       None




Official Form 206A/B                                          Schedule A/B: Assets — Real and Personal Property                                        page 1
                                     Case 3:23-bk-01820-BAJ                   Doc 1        Filed 08/03/23             Page 6 of 75

Debtor        Alrod Logistics, Inc.                                                                              Case number (if known)
             Name


  8.   Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
       Description, including name of holder of prepayment

       None


  9.   Total of Part 2
                                                                                                                                                             $0.00
       Add lines 7 through 8 (including amounts on any additional sheets). Copy the total to line 81.



 Part 3: Accounts receivable


  10. Does the debtor have any accounts receivable?
         ❑ No. Go to Part 4.
         ✔ Yes. Fill in the information below.
         ❑

                                                                                                                                          Current value of debtor's
                                                                                                                                          interest

  11. Accounts Receivable

         11a. 90 days old or less:            $63,000.00                -                  $0.00                    = ...... ➔                         $63,000.00
                                     face amount                            doubtful or uncollectible accounts


         11b. Over 90 days old:               $85,375.00                -                  $0.00                    = ...... ➔                         $85,375.00
                                     face amount                            doubtful or uncollectible accounts


  12. Total of Part 3
                                                                                                                                                      $148,375.00
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.



 Part 4: Investments


  13. Does the debtor own any investments?
         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                         Valuation method used for        Current value of debtor's
                                                                                                         current value                    interest

  14. Mutual funds or publicly traded stocks not included in Part 1
         Name of fund or stock:

         None


  15. Non-publicly traded stock and interests in incorporated and unincorporated
      businesses, including any interest in an LLC, partnership, or joint venture
         Name of fund or stock:                                                     % of
                                                                                    ownership:
         None


  16. Government bonds, corporate bonds, and other negotiable and non-negotiable
      instruments not included in Part 1
         Describe:

Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                           page 2
                                  Case 3:23-bk-01820-BAJ                     Doc 1        Filed 08/03/23       Page 7 of 75

Debtor       Alrod Logistics, Inc.                                                                        Case number (if known)
             Name



         None


  17. Total of Part 4
                                                                                                                                                      $0.00
         Add lines 14 through 16 (including any additional sheets). Copy the total to line 83.



 Part 5: Inventory, excluding agriculture assets


  18. Does the debtor own any inventory (excluding agriculture assets)?
         ❑ No. Go to Part 6.
         ✔ Yes. Fill in the information below.
         ❑

         General description                                Date of the last        Net book value of    Valuation method used     Current value of debtor's
                                                            physical inventory      debtor's interest    for current value         interest
                                                                                    (Where available)


  19. Raw materials

         None

  20. Work in progress

         None

  21. Finished goods, including goods held for resale

         None

  22. Other inventory or supplies

              currently no inventory of liners due to                                            $0.00                                                $0.00
         22.1 cash situation                                    MM / DD / YYYY


  23. Total of Part 5
         Add lines 19 through 22 (including any additional sheets). Copy the total to line 84.                                                        $0.00


  24. Is any of the property listed in Part 5 perishable?
         ✔ No
         ❑
         ❑ Yes
  25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 6: Farming and fishing-related assets (other than titled motor vehicles and land)


  27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.

Official Form 206A/B                                         Schedule A/B: Assets — Real and Personal Property                                    page 3
                                  Case 3:23-bk-01820-BAJ                     Doc 1      Filed 08/03/23        Page 8 of 75

Debtor       Alrod Logistics, Inc.                                                                       Case number (if known)
             Name



         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  28. Crops — either planted or harvested

         None


  29. Farm animals Examples: Livestock, poultry, farm-raised fish

         None


  30. Farm machinery and equipment (Other than titled motor vehicles)

         None

  31. Farm and fishing supplies, chemicals, and feed

         None


  32. Other farming and fishing-related property not already listed in Part 6

         None

  33. Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.                                                                                         $0.00


  34. Is the debtor a member of an agricultural cooperative?
         ✔ No
         ❑
         ❑ Yes. Is any of the debtor's property stored at the cooperative?
             ❑ No
             ❑ Yes

  35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
         ✔ No
         ❑
         ❑ Yes
  36. Is a depreciation schedule available for any of the property listed in Part 6?
         ✔ No
         ❑
         ❑ Yes
  37. Has any of the property listed in Part 6 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 7: Office furniture, fixtures, and equipment; and collectibles


  38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 4
                                  Case 3:23-bk-01820-BAJ                    Doc 1       Filed 08/03/23        Page 9 of 75

Debtor       Alrod Logistics, Inc.                                                                       Case number (if known)
             Name



         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  39. Office furniture

         None


  40. Office fixtures

         None


  41. Office equipment, including all computer equipment and
      communication systems equipment and software

         41.1 Sewer Camera Equipment                                                       (Unknown)                                           $25,000.00


  42. Collectibles Examples: Antiques and figurines; paintings, prints or
      other artwork; books, pictures, or other art objects; china and crystal;
      stamp, coin, or baseball card collections; other collections,
      memorabilia, or collectibles

         None


  43. Total of Part 7
                                                                                                                                               $25,000.00
         Add lines 39 through 42. Copy the total to line 86.

  44. Is a depreciation schedule available for any of the property listed in Part 7?
         ✔ No
         ❑
         ❑ Yes
  45. Has any of the property listed in Part 7 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 8: Machinery, equipment, and vehicles


  46. Does the debtor own or lease any machinery, equipment, or vehicles?
         ❑ No. Go to Part 9.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                       Net book value of    Valuation method used     Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,    debtor's interest    for current value         interest
         or N-number)                                                              (Where available)


  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm
      vehicles

              2020 Ford F150 Supercrew White / VIN:                                        (Unknown)    replacement                            $35,000.00
         47.1 1FTEW1CB0LFC11563


         47.2 2019 Ford F350 Dually / VIN: 1FD8W3HT7KED72079                               (Unknown)    replacement                            $45,000.00




Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 5
                                   Case 3:23-bk-01820-BAJ                    Doc 1       Filed 08/03/23           Page 10 of 75

Debtor        Alrod Logistics, Inc.                                                                          Case number (if known)
             Name



         47.3 2017 Ford F-150 / VIN: 1FTEW1EGOHFC43168                                       (Unknown)      replacement                            $28,300.00


         Additional Page Total - See continuation page for additional entries                                                                     $220,000.00

  48. Watercraft, trailers, motors, and related accessories Examples:
      Boats, trailers, motors, floating homes, personal watercraft, and fishing
      vessels

         48.1 2020 Deep South Cargo Trailer (6' x 24')                                       (Unknown)                                              $2,500.00


         Additional Page Total - See continuation page for additional entries                                                                     $294,000.00

  49. Aircraft and accessories

         None


  50. Other machinery, fixtures, and equipment (excluding farm machinery
      and equipment)

         50.1 2022 Takeuchi Compact Excavator                                                (Unknown)      replacement                            $50,000.00


         Additional Page Total - See continuation page for additional entries                                                                      $70,000.00

  51. Total of Part 8
                                                                                                                                                  $744,800.00
         Add lines 47 through 50. Copy the total to line 87.

  52. Is a depreciation schedule available for any of the property listed in Part 8?
         ✔ No
         ❑
         ❑ Yes

  53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 9: Real Property


  54. Does the debtor own or lease any real property?
         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                    Nature and extent of Net book value of     Valuation method used      Current value of debtor's
         Include street address or other description such as    debtor's interest in debtor's interest     for current value          interest
         Assessor Parcel Number (APN), and type of property     property             (Where available)
         (for example, acreage, factory, warehouse, apartment
         or office building), if available


  55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has interest

         None


  56. Total of Part 9
                                                                                                                                                         $0.00
         Add the current value on lines 55.1 through 55.3 and entries from any addition sheets. Copy the total to line 88.




Official Form 206A/B                                            Schedule A/B: Assets — Real and Personal Property                                    page 6
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Debtor       Alrod Logistics, Inc.                                                                       Case number (if known)
             Name



  57. Is a depreciation schedule available for any of the property listed in Part 9?
         ✔ No
         ❑
         ❑ Yes
  58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 10: Intangibles and Intellectual Property


  59. Does the debtor have any interests in intangibles or intellectual property?
         ✔ No. Go to Part 11.
         ❑
         ❑ Yes. Fill in the information below.

         General description                                                       Net book value of    Valuation method used     Current value of debtor's
                                                                                   debtor's interest    for current value         interest
                                                                                   (Where available)


  60. Patents, copyrights, trademarks, and trade secrets

         None

  61. Internet domain names and websites

         None


  62. Licenses, franchises, and royalties

         None

  63. Customer lists, mailing lists, or other compilations

         None


  64. Other intangibles, or intellectual property

         None

  65. Goodwill

         None


  66. Total of Part 10
                                                                                                                                                     $0.00
         Add lines 60 through 65. Copy the total to line 89.

  67. Do your lists or records include personally identifiable information of customers? (as defined in 11 U.S.C. §§ 101(41A) and 107)
         ✔ No
         ❑
         ❑ Yes
  68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
         ✔ No
         ❑
         ❑ Yes


Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 7
                                 Case 3:23-bk-01820-BAJ                     Doc 1      Filed 08/03/23        Page 12 of 75

Debtor        Alrod Logistics, Inc.                                                                      Case number (if known)
             Name


  69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes


 Part 11: All other assets


  70. Does the debtor own any other assets that have not yet been reported on this form?
         ✔ No. Go to Part 12.
         ❑
         ❑ Yes. Fill in the information below.

                                                                                                                                  Current value of debtor's
                                                                                                                                  interest

  71. Notes receivable
         Description (include name of obligor)

         None


  72. Tax refunds and unused net operating losses (NOLs)
         Description (for example, federal, state, local)

         None


  73. Interests in insurance policies or annuities

         None


  74. Causes of action against third parties (whether or not a lawsuit has been filed)

         None


  75. Other contingent and unliquidated claims or causes of action of every nature,
      including counterclaims of the debtor and rights to set off claims

         None


  76. Trusts, equitable or future interests in property

         None


  77. Other property of any kind not already listed Examples: Season tickets,
      country club membership

         None


  78. Total of Part 11
                                                                                                                                                     $0.00
         Add lines 71 through 77. Copy the total to line 90.

  79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
         ✔ No
         ❑
         ❑ Yes



Official Form 206A/B                                           Schedule A/B: Assets — Real and Personal Property                                 page 8
                                       Case 3:23-bk-01820-BAJ                                Doc 1            Filed 08/03/23               Page 13 of 75

Debtor        Alrod Logistics, Inc.                                                                                                  Case number (if known)
              Name


 Part 12: Summary


         Type of property                                                                    Current value of                            Current value
                                                                                             personal property                           of real property


  80. Cash, cash equivalents, and financial assets. Copy line 5,
      Part 1.                                                                                                 $4,752.00

  81. Deposits and prepayments. Copy line 9, Part 2.                                                                  $0.00

  82. Accounts receivable. Copy line 12, Part 3.                                                          $148,375.00

  83. Investments. Copy line 17, Part 4.                                                                              $0.00

  84. Inventory. Copy line 23, Part 5.                                                                                $0.00

  85. Farming and fishing-related assets. Copy line 33, Part 6.                                                       $0.00

  86. Office furniture, fixtures, and equipment; collectibles. Copy
      line 43, Part 7.                                                                                      $25,000.00

  87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                           $744,800.00


                                                                                                                                ➔                              $0.00
  88. Real property. Copy line 56, Part 9..........................................................................

  89. Intangibles and intellectual property. Copy line 66, Part 10.                                                   $0.00

  90. All other assets. Copy line 78, Part 11.                                          +                             $0.00



  91. Total. Add lines 80 through 90 for each column......                          91a.                  $922,927.00         + 91b.                           $0.00



                                                                                                                                                                        $922,927.00
  92. Total of all property on Schedule A/B. Lines 91a + 91b = 92 .................................................................................................




Official Form 206A/B                                                    Schedule A/B: Assets — Real and Personal Property                                              page 9
                                Case 3:23-bk-01820-BAJ                    Doc 1        Filed 08/03/23         Page 14 of 75

Debtor       Alrod Logistics, Inc.                                                                        Case number (if known)
             Name



          Additional Page


       All cash or cash equivalents owned or controlled by the debtor                                                              Current value of debtor's
                                                                                                                                   interest

  3.   Checking, savings, money market, or financial brokerage accounts - Continued
       Name of institution (bank or brokerage firm)            Type of account                  Last 4 digits of account number
       3.2 Vystar Credit Union                                      Checking account                       1062                                 $4,510.40

       3.3 Vystar Credit Union                                       Savings account                       5154                                      $0.00


         General description                                                      Net book value of     Valuation method used      Current value of debtor's
         Include year, make, model, and identification numbers (i.e., VIN, HIN,   debtor's interest     for current value          interest
         or N-number)                                                             (Where available)

  47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles - Continued
              2006 Dodge Ram 2500 Quad Cab / VIN:
         47.4 3D7KS28C96G209339                                                           (Unknown)      replacement                            $20,000.00

         47.5 2018 Ford F-250 / VIN: 1FT7W2B67JEB37225                                    (Unknown)      replacement                            $39,000.00

         47.6 2012 Ford F-350 / VIN: 1FD8W3GT5CEB70070                                    (Unknown)      replacement                            $25,000.00

         47.7 2015 Ford F-350 / VIN: 1FT8W3DT3FEC60928                                    (Unknown)      replacement                            $31,000.00

         47.8 2020 Dodge Ram 1500 / VIN: 3C6RR6KT4LG219171                                (Unknown)      replacement                            $30,000.00

         47.9 2018 Dodge Ram 3500 Chasis / VIN: 3C7WRTCL8JG376632                         (Unknown)      replacement                            $32,000.00

         47.10 2022 Ford F-150 Grey / VIN: 1FTEW1CP4NFA42145                              (Unknown)      replacement                            $43,000.00

  48. Watercraft, trailers, motors, and related accessories - Continued
         48.2 UV Trailer Buildout                                                         (Unknown)      replacement                           $200,000.00

         48.3 UV Conveyor Trailer                                                         (Unknown)      replacement                            $35,000.00

         48.4 2022 Gooseneck Dump Trailer                                                 (Unknown)      replacement                             $9,500.00

         48.5 2023 PJ Gooseneck Trailer                                                   (Unknown)      replacement                            $12,000.00

         48.6 2022 G7 Jetter Trailer                                                      (Unknown)      replacement                            $35,000.00

         48.7 2020 Deep South 10' trailer                                                 (Unknown)                                              $2,500.00

  50. Other machinery, fixtures, and equipment - Continued
         50.2 Skid Steer and Winch                                                        (Unknown)      replacement                            $70,000.00




Official Form 206A/B                                        Schedule A/B: Assets — Real and Personal Property                                   page 10
                                Case 3:23-bk-01820-BAJ                               Doc 1           Filed 08/03/23        Page 15 of 75
 Fill in this information to identify the case:

     Debtor name     Alrod Logistics, Inc.

     United States Bankruptcy Court for the:                  Middle                  District of             Florida
                                                                                                    (State)
     Case number (if known):                                                                                                                         ❑ Check if this is an
                                                                                                                                                         amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
     Part 1:        List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more                           Column A                       Column B
        than one secured claim, list the creditor separately for each claim.                                               Amount of claim                Value of collateral
                                                                                                                           Do not deduct the value        that supports this
                                                                                                                           of collateral.                 claim

2.1 Creditor’s name                                          Describe debtor’s property that is subject to a
                                                             lien                                                                           $35,000.00            $35,000.00
         Ally Financial
                                                             2020 Ford F150 Supercrew White
        Creditor’s mailing address
                                                             Describe the lien
         P.O. Box 380902
         Minneapolis, MN 55438
                                                             Is the creditor an insider or related party?
        Creditor’s email address, if known
                                                             ✔ No
                                                             ❑
                                                             ❑ Yes
        Date debt was                                        Is anyone else liable on this claim?
        incurred                                             ✔ No
                                                             ❑
        Last 4 digits of               5     0   1      7    ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
        account
                                                             As of the petition filing date, the claim is:
        number
                                                             Check all that apply.
        Do multiple creditors have an interest               ❑ Contingent
        in the same property?                                ❑ Unliquidated
        ✔ No
        ❑                                                    ❑ Disputed
        ❑ Yes. Specify each creditor, including this
                 creditor, and its relative priority.




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the                                             $1,309,825.60
        Additional
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 18
                            Case 3:23-bk-01820-BAJ                            Doc 1      Filed 08/03/23             Page 16 of 75
Debtor     Alrod Logistics, Inc.                                                                   Case number (if known)
          Name




  Part 1:        Additional Page                                                                                    Column A                      Column B
                                                                                                                    Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                    Do not deduct the value       that supports this
 from the
                                                                                                                    of collateral.                claim
 previous page.

2.2 Creditor’s name                                   Describe debtor’s property that is subject to a
                                                      lien                                                                           $38,000.00          $28,300.00
      Ally Financial
                                                      2017 Ford F-150
     Creditor’s mailing address
                                                      Describe the lien
      P.O. Box 380902
      Minneapolis, MN 55438
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was                                    Is anyone else liable on this claim?
     incurred                                         ✔ No
                                                      ❑
     Last 4 digits of              5      0   7   9   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                      As of the petition filing date, the claim is:
     number
                                                      Check all that apply.
     Do multiple creditors have an interest           ❑ Contingent
     in the same property?                            ❑ Unliquidated
     ✔ No
     ❑                                                ❑ Disputed
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
               this creditor, and its relative
               priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 2 of 18
                            Case 3:23-bk-01820-BAJ                            Doc 1      Filed 08/03/23             Page 17 of 75
Debtor     Alrod Logistics, Inc.                                                                   Case number (if known)
          Name




  Part 1:        Additional Page                                                                                    Column A                      Column B
                                                                                                                    Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                    Do not deduct the value       that supports this
 from the
                                                                                                                    of collateral.                claim
 previous page.

2.3 Creditor’s name                                   Describe debtor’s property that is subject to a
                                                      lien                                                                           $48,000.00          $39,000.00
      Ally Financial
                                                      2018 Ford F-250
     Creditor’s mailing address
                                                      Describe the lien
      P.O. Box 380902
      Minneapolis, MN 55438
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was                                    Is anyone else liable on this claim?
     incurred                                         ✔ No
                                                      ❑
     Last 4 digits of              5      0   9   6   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                      As of the petition filing date, the claim is:
     number
                                                      Check all that apply.
     Do multiple creditors have an interest           ❑ Contingent
     in the same property?                            ❑ Unliquidated
     ✔ No
     ❑                                                ❑ Disputed
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
               this creditor, and its relative
               priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 3 of 18
                            Case 3:23-bk-01820-BAJ                            Doc 1      Filed 08/03/23             Page 18 of 75
Debtor     Alrod Logistics, Inc.                                                                   Case number (if known)
          Name




  Part 1:        Additional Page                                                                                    Column A                      Column B
                                                                                                                    Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                    Do not deduct the value       that supports this
 from the
                                                                                                                    of collateral.                claim
 previous page.

2.4 Creditor’s name                                   Describe debtor’s property that is subject to a
                                                      lien                                                                           $18,000.00          $25,000.00
      Ally Financial
                                                      2012 Ford F-350
     Creditor’s mailing address
                                                      Describe the lien
      P.O. Box 380902
      Minneapolis, MN 55438
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was                                    Is anyone else liable on this claim?
     incurred                                         ✔ No
                                                      ❑
     Last 4 digits of              5      7   6   1   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                      As of the petition filing date, the claim is:
     number
                                                      Check all that apply.
     Do multiple creditors have an interest           ❑ Contingent
     in the same property?                            ❑ Unliquidated
     ✔ No
     ❑                                                ❑ Disputed
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
               this creditor, and its relative
               priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 4 of 18
                            Case 3:23-bk-01820-BAJ                            Doc 1      Filed 08/03/23             Page 19 of 75
Debtor     Alrod Logistics, Inc.                                                                   Case number (if known)
          Name




  Part 1:        Additional Page                                                                                    Column A                      Column B
                                                                                                                    Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                    Do not deduct the value       that supports this
 from the
                                                                                                                    of collateral.                claim
 previous page.

2.5 Creditor’s name                                   Describe debtor’s property that is subject to a
                                                      lien                                                                           $27,000.00          $31,000.00
      Ally Financial
                                                      2015 Ford F-350
     Creditor’s mailing address
                                                      Describe the lien
      P.O. Box 380902
      Minneapolis, MN 55438
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was                                    Is anyone else liable on this claim?
     incurred                                         ✔ No
                                                      ❑
     Last 4 digits of              5      8   5   5   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                      As of the petition filing date, the claim is:
     number
                                                      Check all that apply.
     Do multiple creditors have an interest           ❑ Contingent
     in the same property?                            ❑ Unliquidated
     ✔ No
     ❑                                                ❑ Disputed
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
               this creditor, and its relative
               priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 5 of 18
                            Case 3:23-bk-01820-BAJ                            Doc 1      Filed 08/03/23             Page 20 of 75
Debtor     Alrod Logistics, Inc.                                                                   Case number (if known)
          Name




  Part 1:        Additional Page                                                                                    Column A                      Column B
                                                                                                                    Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                    Do not deduct the value       that supports this
 from the
                                                                                                                    of collateral.                claim
 previous page.

2.6 Creditor’s name                                   Describe debtor’s property that is subject to a
                                                      lien                                                                           $35,000.00          $30,000.00
      Ally Financial
                                                      2020 Dodge Ram 1500
     Creditor’s mailing address
                                                      Describe the lien
      P.O. Box 380902
      Minneapolis, MN 55438
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was                                    Is anyone else liable on this claim?
     incurred                                         ✔ No
                                                      ❑
     Last 4 digits of              5      7   9   2   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                      As of the petition filing date, the claim is:
     number
                                                      Check all that apply.
     Do multiple creditors have an interest           ❑ Contingent
     in the same property?                            ❑ Unliquidated
     ✔ No
     ❑                                                ❑ Disputed
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
               this creditor, and its relative
               priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 6 of 18
                            Case 3:23-bk-01820-BAJ                            Doc 1      Filed 08/03/23             Page 21 of 75
Debtor     Alrod Logistics, Inc.                                                                   Case number (if known)
          Name




  Part 1:        Additional Page                                                                                    Column A                      Column B
                                                                                                                    Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                    Do not deduct the value       that supports this
 from the
                                                                                                                    of collateral.                claim
 previous page.

2.7 Creditor’s name                                   Describe debtor’s property that is subject to a
                                                      lien                                                                           $54,000.00          $32,000.00
      Ally Financial
                                                      2018 Dodge Ram 3500 Chasis
     Creditor’s mailing address
                                                      Describe the lien
      P.O. Box 380902
      Minneapolis, MN 55438
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was                                    Is anyone else liable on this claim?
     incurred                                         ✔ No
                                                      ❑
     Last 4 digits of              5      7   8   8   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                      As of the petition filing date, the claim is:
     number
                                                      Check all that apply.
     Do multiple creditors have an interest           ❑ Contingent
     in the same property?                            ❑ Unliquidated
     ✔ No
     ❑                                                ❑ Disputed
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
               this creditor, and its relative
               priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 7 of 18
                            Case 3:23-bk-01820-BAJ                           Doc 1      Filed 08/03/23             Page 22 of 75
Debtor     Alrod Logistics, Inc.                                                                  Case number (if known)
          Name




  Part 1:        Additional Page                                                                                   Column A                      Column B
                                                                                                                   Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                   Do not deduct the value       that supports this
 from the
                                                                                                                   of collateral.                claim
 previous page.

2.8 Creditor’s name                                  Describe debtor’s property that is subject to a
                                                     lien                                                                           $40,000.00          $43,000.00
      Ford Motor Credit Co., LLC
                                                     2022 Ford F-150 Grey
     Creditor’s mailing address
                                                     Describe the lien
      1 American Rd
      Dearborn, MI 48126
                                                     Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                     ✔ No
                                                     ❑
                                                     ❑ Yes
     Date debt was                                   Is anyone else liable on this claim?
     incurred                                        ✔ No
                                                     ❑
     Last 4 digits of                                ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                     As of the petition filing date, the claim is:
     number
                                                     Check all that apply.
     Do multiple creditors have an interest          ❑ Contingent
     in the same property?                           ❑ Unliquidated
     ✔ No
     ❑                                               ❑ Disputed
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
               this creditor, and its relative
               priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 8 of 18
                            Case 3:23-bk-01820-BAJ                            Doc 1      Filed 08/03/23             Page 23 of 75
Debtor     Alrod Logistics, Inc.                                                                   Case number (if known)
          Name




  Part 1:        Additional Page                                                                                    Column A                      Column B
                                                                                                                    Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                    Do not deduct the value       that supports this
 from the
                                                                                                                    of collateral.                claim
 previous page.

2.9 Creditor’s name                                   Describe debtor’s property that is subject to a
                                                      lien                                                                           $43,000.00          $45,000.00
      GM Financial
                                                      2019 Ford F350 Dually
     Creditor’s mailing address
                                                      Describe the lien
      4001 Embarcadero Dr
      Arlington, TX 76014
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was                                    Is anyone else liable on this claim?
     incurred                                         ✔ No
                                                      ❑
     Last 4 digits of              9      1   8   0   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                      As of the petition filing date, the claim is:
     number
                                                      Check all that apply.
     Do multiple creditors have an interest           ❑ Contingent
     in the same property?                            ❑ Unliquidated
     ✔ No
     ❑                                                ❑ Disputed
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
               this creditor, and its relative
               priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                   page 9 of 18
                              Case 3:23-bk-01820-BAJ                           Doc 1     Filed 08/03/23              Page 24 of 75
Debtor       Alrod Logistics, Inc.                                                                  Case number (if known)
            Name




  Part 1:          Additional Page                                                                                   Column A                      Column B
                                                                                                                     Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                     Do not deduct the value       that supports this
 from the
                                                                                                                     of collateral.                claim
 previous page.

2.10 Creditor’s name                                   Describe debtor’s property that is subject to a
                                                       lien                                                                           $88,000.00          $50,000.00
         United States of America
                                                       Amerifactors Residuals
     Creditor’s mailing address
                                                       Describe the lien
         c/o Small Business Administration
         2 NORTH 20TH ST. #320
                                                       Is the creditor an insider or related party?
         Birmingham, AL 35203
                                                       ✔ No
                                                       ❑
     Creditor’s email address, if known                ❑ Yes
                                                       Is anyone else liable on this claim?
     Date debt was                                     ✔ No
                                                       ❑
     incurred                                          ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     Last 4 digits of                                  As of the petition filing date, the claim is:
     account                                           Check all that apply.
     number
                                                       ❑ Contingent
     Do multiple creditors have an interest            ❑ Unliquidated
     in the same property?                             ❑ Disputed
     ✔ No
     ❑
     ❑ Yes. Have you already specified the
                relative priority?
           ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



           ❑ Yes. The relative priority of creditors
                     is specified on lines




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 10 of 18
                            Case 3:23-bk-01820-BAJ                            Doc 1      Filed 08/03/23             Page 25 of 75
Debtor     Alrod Logistics, Inc.                                                                   Case number (if known)
          Name




  Part 1:        Additional Page                                                                                    Column A                       Column B
                                                                                                                    Amount of claim                Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                    Do not deduct the value        that supports this
 from the
                                                                                                                    of collateral.                 claim
 previous page.

2.11 Creditor’s name                                  Describe debtor’s property that is subject to a
                                                      lien                                                                           $411,298.23         $200,000.00
      Vision Financial Group Inc.
                                                      UV Trailer Buildout
     Creditor’s mailing address
                                                      Describe the lien
      615 Iron City Drive
      Pittsburgh, PA 15205
                                                      Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                      ✔ No
                                                      ❑
                                                      ❑ Yes
     Date debt was                                    Is anyone else liable on this claim?
     incurred                                         ✔ No
                                                      ❑
     Last 4 digits of              0      1   0   1   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                      As of the petition filing date, the claim is:
     number
                                                      Check all that apply.
     Do multiple creditors have an interest           ❑ Contingent
     in the same property?                            ❑ Unliquidated
     ✔ No
     ❑                                                ❑ Disputed
     ❑ Yes. Have you already specified the
              relative priority?
         ❑ No. Specify each creditor, including
               this creditor, and its relative
               priority.



         ❑ Yes. The relative priority of creditors
                  is specified on lines




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 11 of 18
                              Case 3:23-bk-01820-BAJ                             Doc 1     Filed 08/03/23              Page 26 of 75
Debtor       Alrod Logistics, Inc.                                                                    Case number (if known)
            Name




  Part 1:          Additional Page                                                                                     Column A                      Column B
                                                                                                                       Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                       Do not deduct the value       that supports this
 from the
                                                                                                                       of collateral.                claim
 previous page.

2.12 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                         lien                                                                           $59,481.32          $25,000.00
         Vision Financial Group Inc.
                                                         Sewer Camera Equipment
     Creditor’s mailing address
                                                         Describe the lien
         615 Iron City Drive
         Pittsburgh, PA 15205
                                                         Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes
     Date debt was                                       Is anyone else liable on this claim?
     incurred                                            ✔ No
                                                         ❑
     Last 4 digits of                0       2   0   1   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                         As of the petition filing date, the claim is:
     number
                                                         Check all that apply.
     Do multiple creditors have an interest              ❑ Contingent
     in the same property?                               ❑ Unliquidated
     ✔ No
     ❑                                                   ❑ Disputed
     ❑ Yes. Have you already specified the
                relative priority?
           ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



           ❑ Yes. The relative priority of creditors
                     is specified on lines




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 12 of 18
                              Case 3:23-bk-01820-BAJ                             Doc 1     Filed 08/03/23              Page 27 of 75
Debtor       Alrod Logistics, Inc.                                                                    Case number (if known)
            Name




  Part 1:          Additional Page                                                                                     Column A                      Column B
                                                                                                                       Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                       Do not deduct the value       that supports this
 from the
                                                                                                                       of collateral.                claim
 previous page.

2.13 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                         lien                                                                           $78,590.36          $35,000.00
         Vision Financial Group Inc.
                                                         UV Conveyor Trailer
     Creditor’s mailing address
                                                         Describe the lien
         615 Iron City Drive
         Pittsburgh, PA 15205
                                                         Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes
     Date debt was                                       Is anyone else liable on this claim?
     incurred                                            ✔ No
                                                         ❑
     Last 4 digits of                0       3   0   1   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                         As of the petition filing date, the claim is:
     number
                                                         Check all that apply.
     Do multiple creditors have an interest              ❑ Contingent
     in the same property?                               ❑ Unliquidated
     ✔ No
     ❑                                                   ❑ Disputed
     ❑ Yes. Have you already specified the
                relative priority?
           ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



           ❑ Yes. The relative priority of creditors
                     is specified on lines




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 13 of 18
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Debtor       Alrod Logistics, Inc.                                                                    Case number (if known)
            Name




  Part 1:          Additional Page                                                                                     Column A                      Column B
                                                                                                                       Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                       Do not deduct the value       that supports this
 from the
                                                                                                                       of collateral.                claim
 previous page.

2.14 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                         lien                                                                           $79,408.69          $50,000.00
         Vision Financial Group Inc.
                                                         2022 Takeuchi Compact Excavator
     Creditor’s mailing address
                                                         Describe the lien
         615 Iron City Drive
         Pittsburgh, PA 15205
                                                         Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes
     Date debt was                                       Is anyone else liable on this claim?
     incurred                                            ✔ No
                                                         ❑
     Last 4 digits of                0       4   0   1   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                         As of the petition filing date, the claim is:
     number
                                                         Check all that apply.
     Do multiple creditors have an interest              ❑ Contingent
     in the same property?                               ❑ Unliquidated
     ✔ No
     ❑                                                   ❑ Disputed
     ❑ Yes. Have you already specified the
                relative priority?
           ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



           ❑ Yes. The relative priority of creditors
                     is specified on lines




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                              Case 3:23-bk-01820-BAJ                             Doc 1     Filed 08/03/23              Page 29 of 75
Debtor       Alrod Logistics, Inc.                                                                    Case number (if known)
            Name




  Part 1:          Additional Page                                                                                     Column A                      Column B
                                                                                                                       Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                       Do not deduct the value       that supports this
 from the
                                                                                                                       of collateral.                claim
 previous page.

2.15 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                         lien                                                                           $18,694.72           $9,500.00
         Vision Financial Group Inc.
                                                         2022 Gooseneck Dump Trailer
     Creditor’s mailing address
                                                         Describe the lien
         615 Iron City Drive
         Pittsburgh, PA 15205
                                                         Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes
     Date debt was                                       Is anyone else liable on this claim?
     incurred                                            ✔ No
                                                         ❑
     Last 4 digits of                0       5   0   1   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                         As of the petition filing date, the claim is:
     number
                                                         Check all that apply.
     Do multiple creditors have an interest              ❑ Contingent
     in the same property?                               ❑ Unliquidated
     ✔ No
     ❑                                                   ❑ Disputed
     ❑ Yes. Have you already specified the
                relative priority?
           ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



           ❑ Yes. The relative priority of creditors
                     is specified on lines




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 15 of 18
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Debtor       Alrod Logistics, Inc.                                                                    Case number (if known)
            Name




  Part 1:          Additional Page                                                                                     Column A                      Column B
                                                                                                                       Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                       Do not deduct the value       that supports this
 from the
                                                                                                                       of collateral.                claim
 previous page.

2.16 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                         lien                                                                           $23,027.00          $12,000.00
         Vision Financial Group Inc.
                                                         2023 PJ Gooseneck Trailer
     Creditor’s mailing address
                                                         Describe the lien
         615 Iron City Drive
         Pittsburgh, PA 15205
                                                         Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes
     Date debt was                                       Is anyone else liable on this claim?
     incurred                                            ✔ No
                                                         ❑
     Last 4 digits of                0       6   0   1   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                         As of the petition filing date, the claim is:
     number
                                                         Check all that apply.
     Do multiple creditors have an interest              ❑ Contingent
     in the same property?                               ❑ Unliquidated
     ✔ No
     ❑                                                   ❑ Disputed
     ❑ Yes. Have you already specified the
                relative priority?
           ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



           ❑ Yes. The relative priority of creditors
                     is specified on lines




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                              Case 3:23-bk-01820-BAJ                             Doc 1     Filed 08/03/23              Page 31 of 75
Debtor       Alrod Logistics, Inc.                                                                    Case number (if known)
            Name




  Part 1:          Additional Page                                                                                     Column A                       Column B
                                                                                                                       Amount of claim                Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                       Do not deduct the value        that supports this
 from the
                                                                                                                       of collateral.                 claim
 previous page.

2.17 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                         lien                                                                           $137,425.28          $70,000.00
         Vision Financial Group Inc.
                                                         Skid Steer and Winch
     Creditor’s mailing address
                                                         Describe the lien
         615 Iron City Drive
         Pittsburgh, PA 15205
                                                         Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes
     Date debt was                                       Is anyone else liable on this claim?
     incurred                                            ✔ No
                                                         ❑
     Last 4 digits of                0       7   0   1   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                         As of the petition filing date, the claim is:
     number
                                                         Check all that apply.
     Do multiple creditors have an interest              ❑ Contingent
     in the same property?                               ❑ Unliquidated
     ✔ No
     ❑                                                   ❑ Disputed
     ❑ Yes. Have you already specified the
                relative priority?
           ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



           ❑ Yes. The relative priority of creditors
                     is specified on lines




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                     page 17 of 18
                              Case 3:23-bk-01820-BAJ                             Doc 1     Filed 08/03/23              Page 32 of 75
Debtor       Alrod Logistics, Inc.                                                                    Case number (if known)
            Name




  Part 1:          Additional Page                                                                                     Column A                      Column B
                                                                                                                       Amount of claim               Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially
                                                                                                                       Do not deduct the value       that supports this
 from the
                                                                                                                       of collateral.                claim
 previous page.

2.18 Creditor’s name                                     Describe debtor’s property that is subject to a
                                                         lien                                                                           $75,900.00          $35,000.00
         Vision Financial Group Inc.
                                                         2022 G7 Jetter Trailer
     Creditor’s mailing address
                                                         Describe the lien
         615 Iron City Drive
         Pittsburgh, PA 15205
                                                         Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                         ✔ No
                                                         ❑
                                                         ❑ Yes
     Date debt was                                       Is anyone else liable on this claim?
     incurred                                            ✔ No
                                                         ❑
     Last 4 digits of                0       8   0   1   ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
     account
                                                         As of the petition filing date, the claim is:
     number
                                                         Check all that apply.
     Do multiple creditors have an interest              ❑ Contingent
     in the same property?                               ❑ Unliquidated
     ✔ No
     ❑                                                   ❑ Disputed
     ❑ Yes. Have you already specified the
                relative priority?
           ❑ No. Specify each creditor, including
                 this creditor, and its relative
                 priority.



           ❑ Yes. The relative priority of creditors
                     is specified on lines




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 18 of 18
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 Fill in this information to identify the case:

 Debtor name                               Alrod Logistics, Inc.

 United States Bankruptcy Court for the:
                                  Middle District of Florida


 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ❑ No. Go to Part 2.
        ✔ Yes. Go to line 2.
        ❑
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                Total claim                Priority amount

2.1 Priority creditor’s name and mailing address                As of the petition filing date, the claim is:   unknown                     unknown
                                                                Check all that apply.
       Florida Department of Revenue
                                                                ❑ Contingent
       P.O. Box 6668                                            ❑ Unliquidated
       Tallahassee, FL 32314
                                                                ❑ Disputed
                                                                Basis for the Claim:
       Date or dates debt was incurred


                                                                Is the claim subject to offset?
       Last 4 digits of account                                 ✔ No
                                                                ❑
       number                                                   ❑ Yes
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)

2.2 Priority creditor’s name and mailing address                As of the petition filing date, the claim is:   $55,000.00                  $55,000.00
                                                                Check all that apply.
       Internal Revenue Service
                                                                ❑ Contingent
       Attn: Bankruptcy                                         ❑ Unliquidated
       400 W. Bay Street
                                                                ❑ Disputed
       Jacksonville, FL 32202                                   Basis for the Claim:

       Date or dates debt was incurred
                                                                Is the claim subject to offset?
       2022-2023                                                ✔ No
                                                                ❑
       Last 4 digits of account                                 ❑ Yes
       number 9 3 0 2
       Specify Code subsection of PRIORITY unsecured
       claim: 11 U.S.C. § 507(a) (8)




Official Form 206E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                         page 1 of 12
                                 Case 3:23-bk-01820-BAJ                    Doc 1        Filed 08/03/23             Page 35 of 75

Debtor        Alrod Logistics, Inc.                                                                           Case number (if known)
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $23,000.00
                                                                            Check all that apply.
       Acme Barricades
                                                                            ❑ Contingent
       9800 Normandy Blvd                                                   ❑ Unliquidated
                                                                            ❑ Disputed
       Jacksonville, FL 32221
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $5,089.00
                                                                            Check all that apply.
       Alta Equipment Company
                                                                            ❑ Contingent
       8750 Philips Hwy                                                     ❑ Unliquidated
                                                                            ❑ Disputed
       Jacksonville, FL 32256
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $0.00
                                                                            Check all that apply.
       Ameris Bank
                                                                            ❑ Contingent
       P.O. Box 105075                                                      ❑ Unliquidated
                                                                            ❑ Disputed
       Atlanta, GA 30348
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes

       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              $28,000.00
3.4                                                                         Check all that apply.
       Cecil W. Powell Company
                                                                            ❑ Contingent
       219 N. Newman St.                                                    ❑ Unliquidated
                                                                            ❑ Disputed
       Jacksonville, FL 32202
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?
       Date or dates debt was incurred                                      ✔ No
                                                                            ❑
       Last 4 digits of account number
                                                                            ❑ Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                            page 2 of 12
                              Case 3:23-bk-01820-BAJ                  Doc 1        Filed 08/03/23             Page 36 of 75

Debtor      Alrod Logistics, Inc.                                                                        Case number (if known)
           Name




 Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $27,351.00
                                                                       Check all that apply.
      CEMEX
                                                                       ❑ Contingent
      10100 Katy Freeway, Suite 300.                                   ❑ Unliquidated
                                                                       ❑ Disputed
      Houston, TX 77043
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes

3.6 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $14,956.00
                                                                       Check all that apply.
      Contech Engineered Solutions
                                                                       ❑ Contingent
      9100 Centre Pointe Drive                                         ❑ Unliquidated
                                                                       ❑ Disputed
      West Chester, OH 45069
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes

3.7 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              $28,358.00
                                                                       Check all that apply.
      County Materials Corporation
                                                                       ❑ Contingent
      25750 County Rd 561                                              ❑ Unliquidated
                                                                       ❑ Disputed
      Astatula, FL 34705
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes

      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $5,000.00
3.8                                                                    Check all that apply.
      Cubesmart Rentals                                                ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
      5 Old Lancaster Rd
                                                                       ✔ Disputed
                                                                       ❑
      Malvern, PA 19355
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
      Date or dates debt was incurred                                  ✔ No
                                                                       ❑
      Last 4 digits of account number
                                                                       ❑ Yes




Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                      page 3 of 12
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Debtor        Alrod Logistics, Inc.                                                                      Case number (if known)
             Name




 Part 2: Additional Page

3.9      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $69,787.00
                                                                       Check all that apply.
         E Advance Services/Canacap                                    ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         C/O CORPORATION SERVICE COMPANY
                                                                       ✔ Disputed
                                                                       ❑
         80 State St.                                                  Basis for the claim:
         Albany, NY 12207                                              Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number

3.10 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $40,000.00
                                                                       Check all that apply.
         Fox Capital Group, Inc.                                       ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         140 Broadway Fl 46
                                                                       ✔ Disputed
                                                                       ❑
         New York, NY 10005
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.11 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $1,296.81
                                                                       Check all that apply.
         GapVax
                                                                       ❑ Contingent
         575 Central Ave.                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Johnstown, PA 15902
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $268.75
3.12                                                                   Check all that apply.
         Garrett Sod Service, LLC
                                                                       ❑ Contingent
         8435 Florence Cove Rd                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Saint Augustine, FL 32092
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 4 of 12
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Debtor        Alrod Logistics, Inc.                                                                      Case number (if known)
             Name




 Part 2: Additional Page

3.13 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $35,000.00
                                                                       Check all that apply.
         Hoyer's Express Tree Service, LLC
                                                                       ❑ Contingent
         14798 SW 151st Ave                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Brooker, FL 32622
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.14 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $286,097.00
                                                                       Check all that apply.
         Impreg
                                                                       ❑ Contingent
         8000 Whitepine Road                                           ❑ Unliquidated
                                                                       ❑ Disputed
         Richmond, VA 23237
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.15 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $150,000.00
                                                                       Check all that apply.
         Kapitus Funding                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         120 W 45th St
                                                                       ✔ Disputed
                                                                       ❑
         New York, NY 10036
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $97,950.00
3.16                                                                   Check all that apply.
         LG Funding
                                                                       ❑ Contingent
         1218 Union St                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Brooklyn, NY 11225
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 5 of 12
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Debtor        Alrod Logistics, Inc.                                                                      Case number (if known)
             Name




 Part 2: Additional Page

3.17 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $180,000.00
                                                                       Check all that apply.
         Libertas Funding                                              ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         411 West Putnam Avenue Suite 220
                                                                       ✔ Disputed
                                                                       ❑
         Greenwich, CT 06830
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.18 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $48,000.00
                                                                       Check all that apply.
         Liquidbee 1 LLC                                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         295 Madison Avenue Fl. 22
                                                                       ✔ Disputed
                                                                       ❑
         New York, NY 10017
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.19 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $696.73
                                                                       Check all that apply.
         Manatee County Utilities
                                                                       ❑ Contingent
         1112 Manatee Avenue West                                      ❑ Unliquidated
                                                                       ❑ Disputed
         Bradenton, FL 34205
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $85,000.00
3.20                                                                   Check all that apply.
         Mayer Construction Supply, LLC.
                                                                       ❑ Contingent
         10 Eastgate Dr,                                               ❑ Unliquidated
                                                                       ❑ Disputed
         Brunswick, GA 31525
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 6 of 12
                                Case 3:23-bk-01820-BAJ               Doc 1        Filed 08/03/23             Page 40 of 75

Debtor        Alrod Logistics, Inc.                                                                      Case number (if known)
             Name




 Part 2: Additional Page

3.21 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $337,000.00
                                                                       Check all that apply.
         MCA Resolve, LLC                                              ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         220 Congress Park Dr, STE 215
                                                                       ✔ Disputed
                                                                       ❑
         Delray Beach, FL 33445
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.22 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $3,199.22
                                                                       Check all that apply.
         Murray Ford
                                                                       ❑ Contingent
         13447 US HWY 301                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Starke, FL 32091
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.23 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $0.00
                                                                       Check all that apply.
         Nationwide Mutual Insurance Co.                               ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         Attn: John Tyszka
                                                                       ✔ Disputed
                                                                       ❑
         Po Box 182068                                                 Basis for the claim:
         Columbus, OH 43218                                            Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
                                                                       ❑ Yes
         Date or dates debt was incurred

         Last 4 digits of account number      6   -   G    O

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $395,001.00
3.24                                                                   Check all that apply.
         Omega Liner Company
                                                                       ❑ Contingent
         515 Noid Road                                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Canton, SD 57013
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 7 of 12
                                Case 3:23-bk-01820-BAJ               Doc 1        Filed 08/03/23             Page 41 of 75

Debtor        Alrod Logistics, Inc.                                                                      Case number (if known)
             Name




 Part 2: Additional Page

3.25 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $26,005.00
                                                                       Check all that apply.
         Preferred Materials
                                                                       ❑ Contingent
         6699 Colray Ct                                                ❑ Unliquidated
                                                                       ❑ Disputed
         Jacksonville, FL 32258
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.26 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $6,273.00
                                                                       Check all that apply.
         Prokasro Services
                                                                       ❑ Contingent
         13685 E Davies Pl,                                            ❑ Unliquidated
                                                                       ❑ Disputed
         Englewood, CO 80112
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.27 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $71,250.00
                                                                       Check all that apply.
         Quicksilver Capital                                           ✔ Contingent
                                                                       ❑
                                                                       ✔ Unliquidated
                                                                       ❑
         181 S Franklin Ave
                                                                       ✔ Disputed
                                                                       ❑
         Valley Stream, NY 11581
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $19,355.00
3.28                                                                   Check all that apply.
         RedStone Underwriters
                                                                       ❑ Contingent
         15301 Dallas Parkway Suite #500                               ❑ Unliquidated
                                                                       ❑ Disputed
         Addison, TX 75001
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       page 8 of 12
                                 Case 3:23-bk-01820-BAJ              Doc 1        Filed 08/03/23             Page 42 of 75

Debtor        Alrod Logistics, Inc.                                                                      Case number (if known)
             Name




 Part 2: Additional Page

3.29 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $194,450.00
                                                                       Check all that apply.
         Sunbelt Rentals
                                                                       ❑ Contingent
         2341 Deerfield Drive,                                         ❑ Unliquidated
                                                                       ❑ Disputed
         Fort Mill, SC 29715
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.30 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $41,284.00
                                                                       Check all that apply.
         United Rentals (North America), Inc.
                                                                       ❑ Contingent
         100 FIRST STAMFORD PLACE #700                                 ❑ Unliquidated
                                                                       ❑ Disputed
         Stamford, CT 06902
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

3.31 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              $139,281.00
                                                                       Check all that apply.
         Vortex Technology
                                                                       ❑ Contingent
         1861 Old Granart Rd, Suite D                                  ❑ Unliquidated
                                                                       ❑ Disputed
         Sugar Grove, IL 60554
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes

         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $122.00
3.32                                                                   Check all that apply.
         WG Johnson and Son
                                                                       ❑ Contingent
         2430 NW 73rd Pl,                                              ❑ Unliquidated
                                                                       ❑ Disputed
         Gainesville, FL 32653
                                                                       Basis for the claim:
                                                                       Is the claim subject to offset?
         Date or dates debt was incurred                               ✔ No
                                                                       ❑
         Last 4 digits of account number
                                                                       ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                        page 9 of 12
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Debtor        Alrod Logistics, Inc.                                                                  Case number (if known)
             Name




 Part 2: Additional Page

3.33 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              $8,967.00
                                                                   Check all that apply.
         White Cap
                                                                   ❑ Contingent
         5409 Broadway Ave                                         ❑ Unliquidated
                                                                   ❑ Disputed
         Jacksonville, FL 32254
                                                                   Basis for the claim:
                                                                   Is the claim subject to offset?
         Date or dates debt was incurred                           ✔ No
                                                                   ❑
         Last 4 digits of account number
                                                                   ❑ Yes




Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                      page 10 of 12
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Debtor        Alrod Logistics, Inc.                                                                           Case number (if known)
              Name

 Part 3: List Others to Be Notified About Unsecured Claims

 4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection
        agencies, assignees of claims listed above, and attorneys for unsecured creditors.
      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


          Name and mailing address                                                     On which line in Part 1 or Part 2 is the related         Last 4 digits of
                                                                                       creditor (if any) listed?                                account number,
                                                                                                                                                if any

 4.1     RTR Recovery, LLC                                                           Line 3.9

         370 Lexington Avenue, Suite 801                                             ❑ Not listed. Explain
         New York, NY 10017




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                           page 11 of 12
                               Case 3:23-bk-01820-BAJ                    Doc 1   Filed 08/03/23       Page 45 of 75

Debtor       Alrod Logistics, Inc.                                                                Case number (if known)
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $55,000.00




  5b. Total claims from Part 2                                                     5b.              $2,368,037.51
                                                                                          +

  5c. Total of Parts 1 and 2                                                       5c.              $2,423,037.51
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                     page 12 of 12
                                  Case 3:23-bk-01820-BAJ                      Doc 1    Filed 08/03/23            Page 46 of 75

 Fill in this information to identify the case:

 Debtor name                               Alrod Logistics, Inc.

 United States Bankruptcy Court for the:
                                 Middle District of Florida


 Case number (if known):                                           Chapter   11                                                   ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or            disguised sale agreement commercial          Vision Financial Group Inc.
2.1    lease is for and the nature           equipment and vehicles - to be rejected
       of the debtor’s interest              and treated as secured                       615 Iron City Drive
                                                                                          Pittsburgh, PA 15205
                                             Contract to be REJECTED

       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or            factoring agreement                          Amerifactors Financial Group, LLC
2.2    lease is for and the nature
       of the debtor’s interest              Contract to be ASSUMED                       P.O. Box 628328
                                                                                          Orlando, FL 32862
       State the term remaining              0 months

       List the contract number of
       any government contract

       State what the contract or            bonding agreement                            Nationwide Mutual Insurance Co.
2.3    lease is for and the nature
       of the debtor’s interest              Contract to be ASSUMED                       Attn: John Tyszka
                                                                                          Po Box 182068
       State the term remaining              0 months
                                                                                          Columbus, OH 43218
       List the contract number of
       any government contract

       State what the contract or
2.4    lease is for and the nature
       of the debtor’s interest

       State the term remaining

       List the contract number of
       any government contract




Official Form 206G                                       Schedule G: Executory Contracts and Unexpired Leases                                             page 1 of 1
                              Case 3:23-bk-01820-BAJ                       Doc 1           Filed 08/03/23            Page 47 of 75
 Fill in this information to identify the case:

  Debtor name          Alrod Logistics, Inc.


  United States Bankruptcy Court for the:                Middle             District of             Florida

                                                                                                                                     ❑ Check if this is an
                                                                                          (State)
  Case number (If known):
                                                                                                                                          amended filing


Official Form 206H
Schedule H: Codebtors                                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ❑ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔ Yes
        ❑
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                   Column 2: Creditor

                                                                                                                                      Check all schedules
         Name                               Mailing address                                                   Name
                                                                                                                                      that apply:

 2.1     Alex Echeverria                    1492 Bellshore Cir.                                               Kapitus Funding         ❑D
                                            Street                                                                                    ✔ E/F
                                                                                                                                      ❑
                                                                                                                                      ❑G
                                            Jacksonville, FL 32218                                            Libertas Funding        ❑D
                                            City                   State                   ZIP Code                                   ✔ E/F
                                                                                                                                      ❑
                                                                                                                                      ❑G
                                                                                                              LG Funding              ❑D
                                                                                                                                      ✔ E/F
                                                                                                                                      ❑
                                                                                                                                      ❑G
                                                                                                              Quicksilver Capital     ❑D
                                                                                                                                      ✔ E/F
                                                                                                                                      ❑
                                                                                                                                      ❑G
                                                                                                              E Advance               ❑D
                                                                                                              Services/Canacap        ✔ E/F
                                                                                                                                      ❑
                                                                                                                                      ❑G
                                                                                                              Liquidbee 1 LLC         ❑D
                                                                                                                                      ✔ E/F
                                                                                                                                      ❑
                                                                                                                                      ❑G
                                                                                                              MCA Resolve, LLC        ❑D
                                                                                                                                      ✔ E/F
                                                                                                                                      ❑
                                                                                                                                      ❑G
                                                                                                              CEMEX                   ❑D
                                                                                                                                      ✔ E/F
                                                                                                                                      ❑
                                                                                                                                      ❑G




Official Form 206H                                                   Schedule H: Codebtors                                                     page 1 of    2
                          Case 3:23-bk-01820-BAJ                     Doc 1     Filed 08/03/23          Page 48 of 75
Debtor      Alrod Logistics, Inc.                                                         Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

 2.2                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.3                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.4                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.5                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.6                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2
                                             Case 3:23-bk-01820-BAJ                                          Doc 1               Filed 08/03/23                        Page 49 of 75


 Fill in this information to identify the case:

 Debtor name                                              Alrod Logistics, Inc.

 United States Bankruptcy Court for the:
                                            Middle District of Florida


 Case number (if known):                                                                 Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                         12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                              $0.00


    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                        $922,927.00

    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                        $922,927.00




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                       $1,309,825.60



 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                             $55,000.00


    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +           $2,368,037.51




 4. Total liabilities..............................................................................................................................................................................                    $3,732,863.11

    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                            page 1
                                    Case 3:23-bk-01820-BAJ                         Doc 1   Filed 08/03/23           Page 50 of 75

 Fill in this information to identify the case:

 Debtor name                                Alrod Logistics, Inc.

 United States Bankruptcy Court for the:
                                   Middle District of Florida


 Case number (if known):                                                                                                        ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                  Gross revenue
        may be a calendar year                                                             Check all that apply                (before deductions and
                                                                                                                               exclusions)

       From the beginning of the                                                           ✔ Operating a business
                                                                                           ❑                                                   $750,000.00
                                                                                           ❑ Other
       fiscal year to filing date:        From 01/01/2023           to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                    From 01/01/2022           to    12/31/2022       ✔ Operating a business
                                                                                           ❑                                                 $2,880,935.00
                                                  MM/ DD/ YYYY              MM/ DD/ YYYY
                                                                                           ❑ Other

       For the year before that:          From 01/01/2021           to    12/31/2021       ✔ Operating a business
                                                                                           ❑                                                 $1,195,627.00
                                                  MM/ DD/ YYYY              MM/ DD/ YYYY
                                                                                           ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ✔ None
         ❑
                                                                                           Description of sources of revenue   Gross revenue from each
                                                                                                                               source
                                                                                                                               (before deductions and
                                                                                                                               exclusions)

      From the beginning of the
      fiscal year to filing date:        From 01/01/2023         to      Filing date
                                                  MM/ DD/ YYYY


      For prior year:                    From 01/01/2022         to      12/31/2022
                                                  MM/ DD/ YYYY             MM/ DD/ YYYY


      For the year before that:          From 01/01/2021         to      12/31/2021
                                                  MM/ DD/ YYYY             MM/ DD/ YYYY




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
Debtor
                                     Case 3:23-bk-01820-BAJ
                 Alrod Logistics, Inc.
                                                                              Doc 1        Filed 08/03/23 Case
                                                                                                            Page    51 of 75
                                                                                                               number (if known)
                 Name

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ✔ None
        ❑
         Creditor’s name and address                         Dates             Total amount or value           Reasons for payment or transfer
                                                                                                               Check all that apply

 3.1.                                                                                                          ❑ Secured debt
        Creditor's name                                                                                        ❑ Unsecured loan repayments
                                                                                                               ❑ Suppliers or vendors
                                                                                                               ❑ Services
        Street

                                                                                                               ❑ Other
        City                             State   ZIP Code



 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ❑ None
         Insider’s name and address                          Dates             Total amount or value           Reasons for payment or transfer


 4.1.   Alex Echeverria                                      last 12 months             $200,839.73            salary and distributions
        Creditor's name
        1492 Bellshore Cir.
        Street



        Jacksonville, FL 32218
        City                             State   ZIP Code

         Relationship to debtor

        owner/President



 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                         Description of the property                              Date                    Value of property




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 2
Debtor
                                     Case 3:23-bk-01820-BAJ
                 Alrod Logistics, Inc.
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                                                                                                               number (if known)
                 Name

 5.1.
        Creditor's name


        Street




        City                             State   ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                           Description of the action creditor took                 Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                                XXXX–
        Street




        City                             State   ZIP Code




 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None
 7.1.    Case title                                Nature of case                         Court or agency's name and address                   Status of case

        Sunbelt Rentals v. Debtor                 rental collection                      Circuit Court Duval County FL                        ✔ Pending
                                                                                                                                              ❑
                                                                                                                                              ❑ On appeal
                                                                                         Name
                                                                                         502 W Adams Street
         Case number                                                                     Street                                               ❑ Concluded
        16-2023-CA-009052
                                                                                         Jacksonville, FL 32202
                                                                                         City                        State     ZIP Code

 7.2.    Case title                                Nature of case                         Court or agency's name and address                   Status of case

        Cemex v. Debtor                           collection                             Orange County County Court                           ✔ Pending
                                                                                                                                              ❑
                                                                                                                                              ❑ On appeal
                                                                                         Name

         Case number                                                                     Street                                               ❑ Concluded
        2023 CC 08407

                                                                                         City                        State     ZIP Code

 7.3.    Case title                                Nature of case                         Court or agency's name and address                   Status of case

        ENVIROWASTE SERVICES                      interpleader case with Liquibee        Miami Dade Circuit Court                             ✔ Pending
                                                                                                                                              ❑
                                                                                                                                              ❑ On appeal
        GROUP, INC. VS ALROD                      AR                                     Name
        LOGISTICS, INC. ET AL
                                                                                         Street                                               ❑ Concluded
         Case number

        2023-016879-CA-01                                                                City                        State     ZIP Code



Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 3
Debtor
                                     Case 3:23-bk-01820-BAJ
                 Alrod Logistics, Inc.
                                                                               Doc 1          Filed 08/03/23 Case
                                                                                                               Page    53 of 75
                                                                                                                  number (if known)
                 Name
 7.4.    Case title                                Nature of case                            Court or agency's name and address             Status of case

        Omega v. Nationwide                       surety bond suit                       Volusia County Circuit Court                     ✔ Pending
                                                                                                                                          ❑
                                                                                                                                          ❑ On appeal
        Insurance                                                                        Name


                                                                                         Street                                           ❑ Concluded
         Case number

        2023 32152 CICI
                                                                                         City                         State   ZIP Code

 7.5.    Case title                                Nature of case                            Court or agency's name and address             Status of case

        Liquidbee 1 v. Debtor                     collection                             Supreme Court of the State of New York Kings     ✔ Pending
                                                                                                                                          ❑
                                                                                         County
                                                                                         Name                                             ❑ On appeal
         Case number                                                                                                                      ❑ Concluded
                                                                                         Street
        511604/2023



                                                                                         City                         State   ZIP Code

 7.6.    Case title                                Nature of case                            Court or agency's name and address             Status of case

        Fox Capital v. Debtor                     collection                             Broward County County Court                      ✔ Pending
                                                                                                                                          ❑
                                                                                                                                          ❑ On appeal
                                                                                         Name

         Case number                                                                     Street                                           ❑ Concluded
        06-2023-CC-004727

                                                                                         City                         State   ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑
 8.1.    Custodian’s name and address                          Description of the property                      Value


        Custodian’s name
                                                               Case title                                       Court name and address
        Street
                                                                                                               Name

                                                               Case number                                     Street
        City                             State   ZIP Code



                                                               Date of order or assignment                     City                      State    ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.     List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
        to that recipient is less than $1,000
        ✔ None
        ❑




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 4
Debtor
                                      Case 3:23-bk-01820-BAJ
                  Alrod Logistics, Inc.
                                                                                Doc 1      Filed 08/03/23 Case
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                                                                                                               number (if known)
                  Name
 9.1.     Recipient’s name and address                        Description of the gifts or contributions               Dates given             Value


         Recipient’s name


         Street




         City                             State   ZIP Code


          Recipient’s relationship to debtor




 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the           Amount of payments received for the loss                     Date of loss     Value of property
           loss occurred                                          If you have received payments to cover the loss, for                          lost
                                                                  example, from insurance, government compensation,
                                                                  or tort liability, list the total received.
                                                                  List unpaid claims on Official Form 106A/B (Schedule
                                                                  A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None
 11.1.    Who was paid or who received the transfer?               If not money, describe any property transferred         Dates                Total amount or
                                                                                                                                                value

         Law Offices of Mickler & Mickler, LLP                    Attorney's Fee                                          07/28/2023                   $10,762.00


          Address                                                 court costs                                             07/28/2023                     $1,738.00

         5452 Arlington Expy.
         Street


         Jacksonville, FL 32211
         City                             State   ZIP Code


          Email or website address



          Who made the payment, if not debtor?




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 5
Debtor
                                    Case 3:23-bk-01820-BAJ
                Alrod Logistics, Inc.
                                                                            Doc 1        Filed 08/03/23 Case
                                                                                                          Page    55 of 75
                                                                                                             number (if known)
                Name



 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                             Describe any property transferred                       Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑
 13.1.    Who received the transfer?                         Description of property transferred or payments            Date transfer       Total amount or
                                                             received or debts paid in exchange                         was made            value




          Address


         Street




         City                           State   ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                           Dates of occupancy

 14.1.                                                                                                     From                       To
         Street




         City                           State   ZIP Code




Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 6
Debtor
                                    Case 3:23-bk-01820-BAJ
                Alrod Logistics, Inc.
                                                                              Doc 1       Filed 08/03/23 Case
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                                                                                                              number (if known)
                Name
 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                      Nature of the business operation, including type of services the          If debtor provides meals
                                                         debtor provides                                                           and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street
                                                         Location where patient records are maintained(if different from           How are records kept?
                                                         facility address). If electronic, identify any service provider.
         City                      State   ZIP Code                                                                               Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper


 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
         ✔ No.
         ❑
         ❑ Yes. State the nature of the information collected and retained.
                   Does the debtor have a privacy policy about that information?
                   ❑ No
                   ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
         ❑ No. Go to Part 10.
         ✔ Yes. Does the debtor serve as plan administrator?
         ❑
                ✔ No. Go to Part 10.
                ❑
                ❑ Yes. Fill in below:
                         Name of plan                                                                 Employer identification number of the plan

                                                                                                     EIN:        –

                         Has the plan been terminated?
                         ❑ No
                         ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
         Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
         or transferred?
         Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
         cooperatives, associations, and other financial institutions.
         ❑ None
          Financial institution name and address           Last 4 digits of account      Type of account             Date account was          Last balance
                                                           number                                                    closed, sold, moved,      before closing
                                                                                                                     or transferred            or transfer


Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 7
Debtor
                                     Case 3:23-bk-01820-BAJ
                 Alrod Logistics, Inc.
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                                                                                                                   number (if known)
                 Name


 18.1 Ameris Bank                                               XXXX–                       ✔ Checking
                                                                                            ❑                          2/2023 - bank           $0.00
                                                                                            ❑ Savings
      Name                                                                                                             froze and
                                                                                                                       closed acount
        Street                                                                              ❑ Money market
                                                                                            ❑ Brokerage
                                                                                            ❑ Other
        City                             State     ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑
 19.1    Depository institution name and address                Names of anyone with access to it         Description of the contents             Does debtor
                                                                                                                                                  still have it?

                                                                                                                                                 ❑ No
                                                                                                                                                 ❑ Yes
        Name


        Street

                                                                Address

        City                             State     ZIP Code


 20. Off-premises storage
        List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
        debtor does business.
        ❑ None
 20.1    Facility name and address                              Names of anyone with access to it         Description of the contents             Does debtor
                                                                                                                                                  still have it?

        Cubesmart Rentals                                                                                closed in 1/2023                        ✔ No
                                                                                                                                                 ❑
        Name
        5 Old Lancaster Rd
                                                                                                                                                 ❑ Yes
        Street


                                                                Address
        Malvern, PA 19355
        City                             State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
        List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
        leased or rented property.
        ✔ None
        ❑
         Owner’s name and address                                      Location of the property                 Description of the property               Value


        Name


        Street




        City                               State     ZIP Code




Official Form 207                                       Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 8
Debtor
                                   Case 3:23-bk-01820-BAJ
               Alrod Logistics, Inc.
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                                                                                                             number (if known)
               Name
 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.
     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
     harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Case title                                   Court or agency name and address                    Nature of the case                          Status of case

                                                                                                                                                     ❑ Pending
         Case number
                                                     Name
                                                                                                                                                     ❑ On appeal
                                                     Street
                                                                                                                                                     ❑ Concluded


                                                     City                       State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                        Governmental unit name and address                  Environmental law, if known                 Date of notice


      Name                                           Name


      Street                                         Street




      City                     State   ZIP Code      City                       State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                        Governmental unit name and address                  Environmental law, if known                 Date of notice


      Name                                           Name


      Street                                         Street




      City                     State   ZIP Code      City                       State   ZIP Code




Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 9
Debtor
                                      Case 3:23-bk-01820-BAJ
                  Alrod Logistics, Inc.
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                                                                                                                number (if known)
                  Name




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
         List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
         information even if already listed in the Schedules.
         ✔ None
         ❑
           Business name and address                     Describe the nature of the business                       Employer Identification number
                                                                                                                   Do not include Social Security number or ITIN.
 25.1.
                                                                                                                  EIN:          –
          Name
                                                                                                                   Dates business existed
          Street
                                                                                                                  From                 To



          City                    State   ZIP Code


 26. Books, records, and financial statements
 26a.      List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
           ❑None
            Name and address                                                                                        Dates of service

 26a.1. Okie Accounting Group, LLC
                                                                                                                   From 2019            To
           Name
           3529 Bran Court West
           Street



           Jacksonville, FL 32277
           City                                              State                  ZIP Code


 26b.      List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
           statement within 2 years before filing this case.
           ✔None
           ❑
            Name and address                                                                                        Dates of service

 26b.1.
                                                                                                                   From                 To
           Name


           Street




           City                                              State                  ZIP Code


 26c.      List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
           ❑None
            Name and address                                                                                        If any books of account and records are
                                                                                                                    unavailable, explain why
 26c.1.
           Okie Accounting Group, LLC
           Name
           3529 Bran Court West
           Street



           Jacksonville, FL 32277
           City                                              State                  ZIP Code



Official Form 207                                    Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 10
Debtor
                                      Case 3:23-bk-01820-BAJ
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                                                                                                              number (if known)
                  Name

            Name and address                                                                                      If any books of account and records are
                                                                                                                  unavailable, explain why
 26c.2.
           Alex Echeverria
           Name
           1492 Bellshore Cir.
           Street



           Jacksonville, FL 32218
           City                                              State                 ZIP Code

 26d.      List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
           statement within 2 years before filing this case.
           ✔None
           ❑
            Name and address

 26d.1.
           Name


           Street




           City                                              State                 ZIP Code


 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ✔ No
         ❑
         ❑ Yes. Give the details about the two most recent inventories.
           Name of the person who supervised the taking of the inventory                          Date of          The dollar amount and basis (cost, market, or
                                                                                                  inventory        other basis) of each inventory




           Name and address of the person who has possession of inventory records

 27.1.
          Name


          Street




          City                                       State              ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
           Name                            Address                                                      Position and nature of any          % of interest, if any
                                                                                                        interest

         Alex Echeverria                  1492 Bellshore Cir. Jacksonville, FL 32218                   President, owner                                100.00%

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ✔ No
         ❑
         ❑ Yes. Identify below.
           Name                            Address                                                      Position and nature of any    Period during which
                                                                                                        interest                      position or interest was
                                                                                                                                      held




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 11
Debtor       Alrod Logistics, Inc.
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                                                                                                               number (if known)
             Name

                                                                                                     ,                                    From
                                                                                                                                          To

 30. Payments, distributions, or withdrawals credited or given to insiders
      Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
      credits on loans, stock redemptions, and options exercised?
      ❑ No
      ✔ Yes. Identify below.
      ❑
         Name and address of recipient                                            Amount of money or description          Dates                  Reason for providing
                                                                                  and value of property                                          the value


 30.1. Alex Echeverria                                                                                     $200,839.73   last 12 months      salary and
      Name                                                                                                                                   distributions
      1492 Bellshore Cir.
      Street



      Jacksonville, FL 32218
      City                                           State         ZIP Code


         Relationship to debtor

      owner/President

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
      ✔ No
      ❑
      ❑ Yes. Identify below.
             Name of the parent corporation                                                          Employer Identification number of the parent corporation

                                                                                                    EIN:        –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
      ✔ No
      ❑
      ❑ Yes. Identify below.
             Name of the pension fund                                                                Employer Identification number of the pension fund

                                                                                                    EIN:        –



 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on          08/01/2023
                     MM/ DD/ YYYY




    ✘ /s/ Alejandro Echeverria                                            Printed name                   Alejandro Echeverria
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor               President




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 12
Debtor
                                Case 3:23-bk-01820-BAJ
            Alrod Logistics, Inc.
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                                                                                                       number (if known)
            Name




    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                  page 13
                                  Case 3:23-bk-01820-BAJ                      Doc 1         Filed 08/03/23             Page 63 of 75

 Fill in this information to identify the case:

 Debtor name                               Alrod Logistics, Inc.

 United States Bankruptcy Court for the:
                                 Middle District of Florida


 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     E Advance Services/Canacap                                                                      Contingent                                                   $69,787.00
      C/O CORPORATION SERVICE                                                                         Disputed
      COMPANY                                                                                         Unliquidated
      80 State St.
      Albany, NY 12207
2     Fox Capital Group, Inc.                                                                         Contingent                                                   $40,000.00
      140 Broadway Fl 46                                                                              Disputed
      New York, NY 10005                                                                              Unliquidated



3     Impreg                                                                                                                                                      $286,097.00
      8000 Whitepine Road
      Richmond, VA 23237


4     Internal Revenue Service                                                                                                                                     $55,000.00
      Attn: Bankruptcy
      400 W. Bay Street
      Jacksonville, FL 32202

5     Kapitus Funding                                                                                 Contingent                                                  $150,000.00
      120 W 45th St                                                                                   Disputed
      New York, NY 10036                                                                              Unliquidated



6     LG Funding                                                                                                                                                   $97,950.00
      1218 Union St
      Brooklyn, NY 11225


7     Libertas Funding                                                                                Contingent                                                  $180,000.00
      411 West Putnam Avenue Suite                                                                    Disputed
      220                                                                                             Unliquidated
      Greenwich, CT 06830

8     Liquidbee 1 LLC                                                                                 Contingent                                                   $48,000.00
      295 Madison Avenue Fl. 22                                                                       Disputed
      New York, NY 10017                                                                              Unliquidated




Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
                                 Case 3:23-bk-01820-BAJ                   Doc 1         Filed 08/03/23             Page 64 of 75

Debtor       Alrod Logistics, Inc.                                                                            Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9     Mayer Construction Supply, LLC.                                                                                                                      $85,000.00
      10 Eastgate Dr,
      Brunswick, GA 31525


10 MCA Resolve, LLC                                                                               Contingent                                             $337,000.00
   220 Congress Park Dr, STE 215                                                                  Disputed
   Delray Beach, FL 33445                                                                         Unliquidated



11 Omega Liner Company                                                                                                                                   $395,001.00
   515 Noid Road
   Canton, SD 57013


12 Quicksilver Capital                                                                            Contingent                                               $71,250.00
   181 S Franklin Ave                                                                             Disputed
   Valley Stream, NY 11581                                                                        Unliquidated



13 Sunbelt Rentals                                                                                                                                       $194,450.00
   2341 Deerfield Drive,
   Fort Mill, SC 29715


14 United Rentals (North America),                                                                                                                         $41,284.00
   Inc.
      100 FIRST STAMFORD PLACE
      #700
      Stamford, CT 06902
15 United States of America                                                                                             $88,000.00       $50,000.00        $38,000.00
   c/o Small Business Administration
   2 NORTH 20TH ST. #320
   Birmingham, AL 35203

16 Vision Financial Group Inc.                                                                                        $411,298.23       $200,000.00       $211,298.23
   615 Iron City Drive
   Pittsburgh, PA 15205


17 Vision Financial Group Inc.                                                                                        $137,425.28        $70,000.00        $67,425.28
   615 Iron City Drive
   Pittsburgh, PA 15205


18 Vision Financial Group Inc.                                                                                          $78,590.36       $35,000.00        $43,590.36
   615 Iron City Drive
   Pittsburgh, PA 15205


19 Vision Financial Group Inc.                                                                                          $75,900.00       $35,000.00        $40,900.00
   615 Iron City Drive
   Pittsburgh, PA 15205


20 Vortex Technology                                                                                                                                     $139,281.00
   1861 Old Granart Rd, Suite D
   Sugar Grove, IL 60554

Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
                                  Case 3:23-bk-01820-BAJ                                     Doc 1             Filed 08/03/23                      Page 65 of 75


B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                   Middle District of Florida

In re        Alrod Logistics, Inc.

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                     $25,000.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                    $10,762.00

        Balance Due ................................................................................................................................................    $14,238.00

2.                $1,738.00                 of the filing fee has been paid.

3.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
5.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

6.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

7.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




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B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        08/01/2023                                              /s/ Bryan K. Mickler
                Date                                         Bryan K. Mickler
                                                             Signature of Attorney
                                                                                                Bar Number: 091790
                                                                               Law Offices of Mickler & Mickler, LLP
                                                                                                5452 Arlington Expy.
                                                                                              Jacksonville, FL 32211
                                                                                             Phone: (904) 725-0822

                                                                     Law Offices of Mickler & Mickler, LLP
                                                            Name of law firm




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                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                        MIDDLE DISTRICT OF FLORIDA
                                                          JACKSONVILLE DIVISION

IN RE: Alrod Logistics, Inc.                                                           CASE NO

                                                                                       CHAPTER 11




                                                   VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date       08/01/2023            Signature                              /s/ Alejandro Echeverria
                                                                      Alejandro Echeverria, President
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                    Acme Barricades
                    9800 Normandy Blvd
                    Jacksonville, FL 32221




                    Alex Echeverria
                    1492 Bellshore Cir.
                    Jacksonville, FL 32218




                    Ally Financial
                    P.O. Box 380902
                    Minneapolis, MN 55438




                    Alta Equipment Company
                    8750 Philips Hwy
                    Jacksonville, FL 32256




                    Amerifactors Financial Group,
                    LLC
                    P.O. Box 628328
                    Orlando, FL 32862



                    Ameris Bank
                    P.O. Box 105075
                    Atlanta, GA 30348




                    Cecil W. Powell Company
                    219 N. Newman St.
                    Jacksonville, FL 32202




                    CEMEX
                    10100 Katy Freeway, Suite 300.
                    Houston, TX 77043
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                    Contech Engineered Solutions
                    9100 Centre Pointe Drive
                    West Chester, OH 45069




                    County Materials Corporation
                    25750 County Rd 561
                    Astatula, FL 34705




                    Cubesmart Rentals
                    5 Old Lancaster Rd
                    Malvern, PA 19355




                    E Advance Services/Canacap
                    C/O CORPORATION SERVICE COMPANY
                    80 State St.
                    Albany, NY 12207



                    Florida Department of
                    Revenue
                    P.O. Box 6668
                    Tallahassee, FL 32314



                    Ford Motor Credit Co., LLC
                    1 American Rd
                    Dearborn, MI 48126




                    Fox Capital Group, Inc.
                    140 Broadway Fl 46
                    New York, NY 10005




                    GapVax
                    575 Central Ave.
                    Johnstown, PA 15902
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                    Garrett Sod Service, LLC
                    8435 Florence Cove Rd
                    Saint Augustine, FL 32092




                    GM Financial
                    4001 Embarcadero Dr
                    Arlington, TX 76014




                    Hoyer's Express Tree Service,
                    LLC
                    14798 SW 151st Ave
                    Brooker, FL 32622



                    Impreg
                    8000 Whitepine Road
                    Richmond, VA 23237




                    Internal Revenue Service
                    Attn: Bankruptcy
                    400 W. Bay Street
                    Jacksonville, FL 32202



                    Kapitus Funding
                    120 W 45th St
                    New York, NY 10036




                    Law Offices of Mickler &
                    Mickler, LLP
                    5452 Arlington Expy.
                    Jacksonville, FL 32211



                    LG Funding
                    1218 Union St
                    Brooklyn, NY 11225
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                    Libertas Funding
                    411 West Putnam Avenue Suite 220
                    Greenwich, CT 06830




                    Liquidbee 1 LLC
                    295 Madison Avenue Fl. 22
                    New York, NY 10017




                    Manatee County Utilities
                    1112 Manatee Avenue West
                    Bradenton, FL 34205




                    Mayer Construction Supply,
                    LLC.
                    10 Eastgate Dr,
                    Brunswick, GA 31525



                    MCA Resolve, LLC
                    220 Congress Park Dr, STE 215
                    Delray Beach, FL 33445




                    Murray Ford
                    13447 US HWY 301
                    Starke, FL 32091




                    Nationwide Mutual Insurance
                    Co.
                    Attn: John Tyszka
                    Po Box 182068
                    Columbus, OH 43218


                    Omega Liner Company
                    515 Noid Road
                    Canton, SD 57013
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                    Preferred Materials
                    6699 Colray Ct
                    Jacksonville, FL 32258




                    Prokasro Services
                    13685 E Davies Pl,
                    Englewood, CO 80112




                    Quicksilver Capital
                    181 S Franklin Ave
                    Valley Stream, NY 11581




                    RedStone Underwriters
                    15301 Dallas Parkway Suite #500
                    Addison, TX 75001




                    RTR Recovery, LLC
                    370 Lexington Avenue, Suite 801
                    New York, NY 10017




                    Sunbelt Rentals
                    2341 Deerfield Drive,
                    Fort Mill, SC 29715




                    United Rentals (North
                    America), Inc.
                    100 FIRST STAMFORD PLACE #700
                    Stamford, CT 06902



                    United States of America
                    c/o Small Business Administration
                    2 NORTH 20TH ST. #320
                    Birmingham, AL 35203
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                    Vision




                    Vision Financial Group Inc.
                    615 Iron City Drive
                    Pittsburgh, PA 15205




                    Vortex Technology
                    18150 Imperial Valley Drive
                    Houston, TX 77080




                    WG Johnson and Son
                    2430 NW 73rd Pl,
                    Gainesville, FL 32653




                    White Cap
                    5409 Broadway Ave
                    Jacksonville, FL 32254
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 Fill in this information to identify the case:

 Debtor name                               Alrod Logistics, Inc.

 United States Bankruptcy Court for the:
                                 Middle District of Florida


 Case number (if known):                                                                                                              ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ✔
         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ✔
         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ✔
         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ✔
         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ✔
         ❑     Schedule H: Codebtors (Official Form 206H)

         ✔
         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ✔
         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ❑     Other document that requires a declaration




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     08/01/2023
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Alejandro Echeverria
                                                                                Signature of individual signing on behalf of debtor


                                                                                Alejandro Echeverria
                                                                                Printed name


                                                                                President
                                                                                Position or relationship to debtor



Official Form B202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission pursuant
        to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code,
        this Exhibit "A" shall be completed and attached to the petition.]

                                                                      [Caption as in Form 416B]

                                              Attachment to Voluntary Petition for Non-Individuals Filing for
                                                             Bankruptcy under Chapter 11

                1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number is
                               .

                2. The following financial data is the latest available information and refers to the debtor's condition on                    .

                 a. Total assets                                                                                                 $922,927.00
                 b. Total debts (including debts listed in 2.c., below)                                                        $3,732,863.11
                 c. Debt securities held by more than 500 holders

                                                                                                                                   Approximate
                                                                                                                                   number of
                                                                                                                                   holders:
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 secured ❑ unsecured ❑ subordinated ❑
                 d. Number of shares of preferred stock
                 e. Number of shares common stock

                Comments, if any:


                                                                 Pipe lining
                3. Brief description of debtor's business



                 4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
        securities of debtor:




Official Form 201A                          Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
